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EXHIBIT H

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From: Geisler, Rovvena lets§§to:§e.@e§s§ez@ sea§i.ez l

Sent: Thursday, February 22, 2018 3:48 PM

To: Fava, Melanie

Cc: Legenhausen, Jenn; Daza, Juanita; Fowler, Michelle; Morrissette, Barbara
Subject: Meeting Cancellation

Importance: High

Dca§“ i\§s, ilasz

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detainer vendee

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